






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00500-CV








In re Jonathon and Kristi Williamson, et al.









ORIGINAL PROCEEDING FROM TRAVIS COUNTY






M E M O R A N D U M   O P I N I O N




	Jonathon and Kristi Williamson filed a amended petition for writ of mandamus.  We
deny the amended petition for writ of mandamus.  See Tex. R. App. P. 52.8(a).



					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear


Filed:   October 25, 2004


